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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


MAIKER ALEJANDRO ESPINOZA ESCALONA, et
al.,

Plaintiffs–Petitioners,                                  Case No: 25-cv-00604

                             v.

KRISTI NOEM, Secretary of the U.S. Department of
Homeland Security, in her official capacity, et al.,

Defendants–Respondents.


                                   INDEX OF EXHIBITS

         PLAINTIFFS-PETITIONERS’ REPLY IN SUPPORT OF MOTION FOR
                      EMERGENCY STAY OF TRANSFERS

 1.       Supplemental Declaration of Deborah Fleischaker

 2.       Declaration of Tarlis Marcone De Barros Goncalves

 3.       Declaration of Engel Jirox Montenegro Olivas

 4.       Declaration of Adonia Simpson

 5.       Supplemental Declaration of Jennifer Babaie, Las Americas Immigrant Advocacy
          Center




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